                                           IN 'l1IE
                              UNITED STATES DISTRICT    COURT
                         FOR 'mE NORTHERN DISTRICT     OF MARYLAND



     United States of America.                 )                 Civil No. 17-1279
                                               )

               vs.                             )

                                               )
     Rodney R. Hailey,
                                               )


                DEFENDANT'S   REPLY AND MEMORANDUM OF LAW AND SUPPORT
                         10 'mE GOVERNMENT'S RESPONSE PLEADING



          Defendant Rodney R.Hailey. comes in his proper person, before this Court
in the capacity of pro' se litigant    1   and now moves. this Honorable Court bY.his

Reply and Memorandum of law and Supoort, to the Government's Responding pleading
(Dkt. 204).


1.    Introduction




          This Honorable Court, is an institution of judicial stare decisis, and the

Supreme Court of the United States' has long settled laws, in their precedent.
 that apperantly are in dispute by the Government. within, their theories as to the
 authorization of this Court's judicial reviewing authority. Cf. Adamo WreckLng     Co.

v. United States, 434 U.S. 275, 282-283,54    l Ed2d 538,98 S.Ct 566 (1978) (EIolding:
Statute barring courts review of lawfulness    of agency " emission standard     " in

criminal case does not bar courts review of whether regulations is an " emission

standard" )) j also see Utah v. Evans, 536 U -S. 452! 463, 153 l Ed 2d 423,122    S. Ct
2191 (2002).

         The standard of the Rule 52(b), extense to provide an defendant that has

failed to object and preserved such. to set forth and show with clarity the plain

errors that has caused him substantial and private interests deprivation by the

Government misconducts, and that result in erroneous and egregious to effected      the

fairness principles of the proceedings that the error occurred in~onsistent      with
the Fifth Amendment's Due Process Clause.

        However, it appears that the Government's contentions are in contradiction

within, itself, their open statement, appears to present arguments that was perviotls-
ly vacated, and remanded, however, the government alleges not to be realleging      they

pervious argument of such, yet they do so explicitly in their litigation insofar as

the section 2255, on several pages. But at the Government's initialed argument stage
at p. 6, of (Dkt. 204), they argues that the Rule 52, cannot be treated as a ~ 2255,

which it said defendant point of the Rule 52(b), being a vehicle of Plain Error,

that address the prejudice of substantial rights by the government's misconduct(s),
at the sentencing stages.

        Said Defendant Hailey, now respectfully requests of this Court to hold in
its consideration,   that at the times' of~his direct appeal, or initial section 2255.

that neither Molina-Martinez   v. United States, 136 S.Ct. 1338(2016), and Nelson v.

Coloroda. 137 S.Ct. 1249(2017), was not available to him, and that on direct appeal
he was represented   by counsel. whose was to provide effective assistance and competent


                                         2
ability in the matter of the protection of his substantial rights, in the fe=deral

courts, as inscribed by the fundamental guarantee of the Sixth Amendment's Counsel
Clause.
      An uncharged conduct(s), infringes upon the very essential of the Fifth

and Sixth Amendments' the Due Process fundamental fairness principles, work in

conjunction of the two amendments' and their guarantees' even at the fix penalty

stages. in the instant case of HaileY's the crime elements in 18 U.S.C. ~ 1343

fraud offense(s)! demands the crime ingredient (" victim ")~ to be established

for the fi~~ng of penalty scheme in the ~ 1343 seg.al., this is in accordingly

to the United States Sentencing Guidelines Manual ~ 2S1.1:cmt. and for violation

of the 18 U.S.C. ~ 1957 [" money laundering"] offense,.the crime ingredient     to

the fixing of penalty for the violation(s) are the amount of currency that was

founded in fraud scheme(s). herein •.
      The above theory set forth. herein, has been consciously employed in

the Government's recently responsed pleading. the Defendant Hailey, had invoked

his Sixth and Seventh Amendments' guaranteed rights to a trial by a jury, he

was convicted by the jury upon the Grand Jury's charging instrument's usage,

he was only provided with the opportunity to defend himself against accusations
presented in the (" indictment 'i). for whatever. reason the Government didn't
sought a superseding indictment by the Grand Jury's panel that surrendered the

original indictment ... the Fifth Amendment's Grand Jury Clause; guarantee an
person accused of an criminal offense(s). that unless those offenses appears in
the form of an presentment or indictment, he cannot be held to answer to uncharged
accusations.   the Sixth Amendment secured. the fundamental right of an accused person.
to extense to the right to notice. and the to a trial by jUry on the accusations

presented in a presentment or indictment. an accused (defendant) such as Hailey

cannot enjoy such fundamental rights that is enjoy by all other persons before



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this federal court, where the misconduct(s) derived in the government's present-

ation at sentencing of accusations of uncharged conduct(s), never presented    in
an presentment or indictment,

      Again, the exercise afforded by this court to the government on February

22~2013, under the impression of title 18 U.S,C. ~ 3661, and the misinterpretation
employed in " United States v. Watts, supra."    that has now in the caselaw of

Nelson, supra. been overruled, and even though the government made argue against

Hailey's theory constructive on settled law, and preserved in the precedents of

case laws, the sufficience of an uncharged conduct(s), are prescrihed in the

persumption of innocence doctrine, as is the acquitted conduct(s), and the errors

implemented by sentencing Hailey, outside statutory penalty in a Guidelines    scheme

invokes the infringing of the government's upon Hailey's suhstantial rights~ that

constitutional guarantees that are secured in the Fifth and Sixth Amendments' Due
Process clause, and the fundamental fairness principles.

      It appears in the Government's responding pleading, that the Rule 52(b),

of the Federal Rules of Criminal Procedure, should stand in differance of the
Rule 33, or Rule 36, vehicles, and that according to the government, even if it
should be established by the constitutional laws, that Hailey's is imprisoned

under and illegal sentencing scheme~ he should be further deprived of his fundamental
privilege as enjoy by all other persons who has been held in prison by an illegal

sentencing-- scheme that inconsistent with the due process fundamental fairness princ-
                                                                                -
iples, and against the spirits of the fundamental safeguards in placed to protect

the people's rights from the misconducts of arbitrary governmental discrimination(s)

being enforced against the very people the government is swear to protect and defend

fundamental rights. That sort of argue would set this federal judicial system and

our country back in the dark ages per Thirteenth and Fourteenth Amendments.




                                        4
Ill.                                   ARGUMENT


         The Supreme Court, has held : What constitutes agency " action:' " order:'

 " decision,"    final order."   " final,"       " decision!"   or the like within. meaning

of federal statutes authorizing judicial review of administrative action- Supreme
Court, cases 47 l .Ed 2d 843.

         In " United States v. 01ano.507 U,S. 725. 113 S.Ct 1770, 123 t Ed 2d 508

(2003)( Holds three components that must be over come. " First, there must be an

error that has not been intentionally relinquished or abandoned."
         Hailey's has satisify this component. and the Government has agreed to this
fact, in their responded pleading wherein. they argues Hailey has package and

repackage. of such an error.

         " Second. in Olano: the error must be plain - that is to say. clear or
obvious. "

         Hailey has satisify this component as well, he has in his original complaint

broken the cause of the error down to the common mind state. and will further set

herein. that the government's misconduct in the employing of uncharged concluet(s)
preserved and protected inthe security of the doctrine of persumption of innocence.
especially now in light of Nelson,supra. even though the Nelson's Court ruling was

based on the substantial rights effected by a state's statute(s) scheme. It is
equal if not more strongly held against federal statutes that promotes the misconduct

egregious errors against a federal defendant like Hailey's substantial rights.

         " Third, the error must have affected the defendant's substantial right,

ibid.,     which in the ordinary case means he or she must show a reasonable probability

that, but for the error, " the outcome of the proceedings would have been different. "

         Hailey has periiously satisified this component and will now furtherance set



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forth of the principal standard of the doctrine of stare decisis, as to why the

equal protection extended and upheld in such case law should be equal applicable
to protect his substantial rights. As has been asserted by Hailey in his original

pleading had the government not been allowed to use uncharged conduct inconsistent

with the principles of presumption of innocence doctrine, and the due process clause
secured in the Bill of Rights' Fifth Amendment of the Constitution of the United
States.

      There nothing in the Supreme Court's decision in Olano, or the Rule 52(b),

that forbids this Court from correcting its own plain errors that effected Hailey's

substantial rights. It would however, be an grave act of fundamental miscarriage

of justice, employed by this Court, to deprive Hailey's the right to be heard and

to present his presentation of evidence of the substantive errors and their infring-

ment against his substantial rights, in conflict with constitutional   laws.
      For the purposes of support Hailey set forth in the theories of an few

forms of example    of how the misconduct of the government uses of an unchar~ed

conduct(s). has prejudice his substantial rights in the interest of the Due Process

fundamental fairness principles. at the sentencing of February 22.2013; this is

prehaps may be the most startling result of the reasoning of Nelson, herein the

instant case: Hailey was charged with offenses in violation of the title 18 U.S-C.
~ 1343. in that crime the Grand Jury found that in the eight counts of the fraud

scheme. the government's presentation sustained reasonability that (5) Five indiv.-

iduals companies was the victims of Hailey's fraud scheme. A jury trial was held
and a virdict as to the above crime elements was found under the assumed assumption

of beyond the reasonable doubt clause. The same go for the Grand Jury's charging

Hailey's in the offenses of money laundeting in violation of 18 U S.C.~ 1957, and
the government's   presentation before that Grand Jury's panel held that the govern-

ment sustained that the amount of U.S. currency with more then nine millon - dollars.



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       The same Grand Jury had defined their terms of more then nine mil16n,-dollars,
                                                                            -
 to mean $9,100,002,38 or so, but less then Ten Millon Dollars, the government       at

 trial before an jury put on an presentation of their evidence a little more      then

what the Grand Jury's indictment charged Hailey, and to be the nature and cause

of the presentation presented by the government to the Grand Jury's panel,      f10W-~


ever, the government doing Hailey's jury trial presentation     of evidence as to

the amount of U.S ..currency was still under the " Ten Millon Dollars," factor

nevertheless,    the jury panel after listen and retaining evidence and information,

from all parties, found beyond a reasonable doubt as to the money laundering

currency and Hailey's liability to be no more then a little more then two
millon dollars.

      What is omission herein, is to why the government withheld, assuming the

evidence of five other victims, and more then $30,000.000 dollars, from the Grand
Jury's panel, Hailey, or the jury panel at Hailey's trial, but for whatever,         the

government's    reasons made had been at that, time, the substantive of the errors

invaded upon Hailey's substantial rights' inconsistent     to the due process principles,
because the withheld of Stich crime element/ ingredient far on the Brady's Rule,

it also defaces the fair notice, and the confrontation    clause, while obstructing

access to Hailey's right to defend hisself .•. Because the crime ingredients withheld
derived out what would had been considered in accord to title 18 U.S.C. ~~ 1343 and

1957 cmt. as to statutory penalties framework the Sixth Amendment's floor and
Ceiling principles,    it was error of this Court and Appellate Court's dismissal,        or
disregard of stich substantial   facts.




                                           7
III. Presumption of Innocence Doctrine ..



         Hailey was never charged with 10 victims, in the fraud scheme, he wasn't

charged with laundering $ 40, 000,000, he is presumably        in the eyes of the laws,

of the United States, as innocent as to the extra five victims assumptions,          and

he is presumably innocent of laundering $ 40,000,000,        in the crime of money

laundering,     the settled laws of the United States' set in the doctrine of the

presumption     of innnocence standards, that can only be override by a conviction

of finalization on the all crime elements/ or ingredients. However, this Court

and the Government erred, when it imposed a sentencing outside of what the law
announced as to be legally.

         Whether the Court, in the record declares, that its decision derived         in

light of title 18 U.S.C. ~ 3661, seq.al., such exercising could not be hold as

lawful execution or even employed without proof of the constitutionality.        This

is because the fundamental guarantees and their constitutional        safeguards forbids
such governmental     arbitrary execution, by the mind states implemented in the dis-

~riminations     against Hailey's substantial interest in the legality of that form

of enforcement     imposition, nor could the " government"    rely on its own inter-
pretation,     or " Hailey's failing to appropriately   object to the government's
invasion of his substantial rights, where this Court is the core elector of the
appointed defense counsel~ " of tlae,:J\Tatts~
                                            acquitted conduct reasoning for the
sentencing     scheme and/or purposes to subject Hailey to an constitutional    illegal
sentencing     that creates an harsher penalty or punishment in violation of the

Bill of Ri~hts' Amendments     " Fifth,"   " Sixth," and " Eighth,"    of the Constit-
ution for the United States.

        Nelson, makes clear of the errors in the employment of the prohibited

adoption of Watts, because it allows the government to simply undermine the safe-



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grauds,     that has been put in place to protect guarantees          of such substantial

rights of an defendant's,       the graveness of the erroneousness        attached hereilCl,

the execution of the imposition of Hailey's constitutional              illegal sentencilClg

is wha t the Supreme Court held in " Molina-Martinez,"             are identical to the
Sixth Amendment's concern, herein, the instant case of Hailey's.

            Whether the Government has announce their agreement of the facts set

forth by Hailey's throughout his complaint and pleading isn't unforeseeing                t1ere

on the records, because the government has indeed agreed with Hailey's in tt1eir

rebuttal pleading, but        the government's       seeks to block Hailey's liberty interest

and grievances,     by influencing   this Court to again recharacterize        Hailey's Rule

52(b), motion to post as a post-conviction             factor, nevertheless,   the government

attempts     to disguise its action, by confliction         language or words' first the

government     argues that Hailey's Rule 52(b), isn't a vehicle for redress that

argument     falls on moot ears, next the government claims that they are not re-

litigating     their pervious argument, which also false as to ~ 2255, and Rule 52(b) ,

in this instant civil manner, and last in the government's              first argument instant

it agrees that the Rule 52, is.nota post conviction issues vehicle. What is omission

to the common mind herein, the government's             argument it attempts to deflict Rule

52(b), under the viewing of Rule 52, which leave the ambiguity open to miscon-
strued facts, because the post conviction clearly dose not rest on Rule 52,

or Rule 52(b), Because by federal judicial procedure             the ~ 2255, is the common
motion for post-conviction       proceedings     and issues.

            Herein, the instant case of Hailey, he is presume innocent of any uncharged

conduct(s),     and this Court has no judicial jurisdiction          to imposed a sentence of
such, even in the face of title 18       u.s.c. ~       3661, because the reading of such an
statutory     provision,   it must be read in the constitutional        visions, and it was

clear error for this Court to override the presumption              of innocence afforded to


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Hailey ,that should had been respected and uphold in this Court on February 22,2013,

the uncharged conduct(s), attached to the presumption of innocent, will not allow

the sentencing imposed of February 22,2013, to stand in the eyes and face of the

Constitution,     or laws, or treaties of the United States as valid or lawful ••.

because its execution derived out of unlawfulness means in conflictation        of the

fundamental fairness principles. That is why the government's whole intends is

to influence this Court, to bar access to its judicial bench, on the merits of

Hailey's asserted issues of fundamental interests.



                                         CONClUSION


            THEREFORE, with the above fundamental factors, and settled laws, herein,

this se~tion of the conclusion provisions and paragraphs, as follow this Court
should grant Hailey leave to proceed in pursuant of Rule 52(b), and lor set

forth an hearing as to the evidential facts, of the plain errors and the effects

upon Hailey's substantial rights:

           Congress. exp1icitly inscribed in the context of the federal title 18 of
the United States Code Services, section -1957, at subsection (b),- Penalty and
Punishment_-_:.Paragraph (1) : .Except as provided in paragraph (2), the punishment

for   an   offense under this section is~a:fine under title 18 United States Code,
or imprisonment        for not more than ten years, or both, if the offense involves

a pre-retail     medical product ( as defined in section 670 [ 18 U.S.C.S. ~ 670J,

the punishment     for the offense shall be the same as the punishment for an offense

under section 670, [ 18 U.S.C.S. ~ 670J unless the punishment under this subsection

is greater.

           Paragraph     (2): The court may impose an alternate fine to that imposable




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of the jury's verdict as to the crime element of monetary liability, or what is

prescribed       in the contexts of the section 1957 of the title 18 United States Code

subsection       (b). See, " United States v. Gaudin, 515 U.S. 506, 132 t .Ed 2d 444, 115

S .Ct. 2310(1995)( holds : The Supreme Court. has long made             clear that the Constit-

ution provides that a criminal defendant may be convicted only if every element

of a charged offense is found beyond a reasonable doubt by a proper fact finder~

            This stare decisis was also uphold in the " United States v. RElmirez-

Castillo, 748            F.3d 205, 212-23 (4th Cir. 2014)( relying on Gaudi~, and explaining

that the jury's role is to determine the facts as to each element and apply the
law as instructed by judge to those facts).

              In the instant case of Hailey, the government elected to not charge conduct

derived from the offenses,            for whatever, reasons, but used them uncharged conduct(s),

to cause a greater fine and sentencing imposing in violation Mailey's substantial

rights' guarantees            in the Fifth and Sixth Amendments working in conjunction   in,or

through the Due Process Fundamental Fairness Principles, had not the errors occurred
Hailey would had been sentenced to a much lesser sentencing, and fined a lot less

then the 40 millon dollars restitution            imposed. United States v. Squirred, 588 F.3d

207,(4th Cir. 2009); and United States v. Awuah. 654 Fed. Appx. 597 (4th Cir. 2016).



Dated:                  ,1!l,2018
  \tz~   '"So,'I\vGry




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                                             i
                             CERTIFICATEPF        SERVICE
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        I HEREBY CERTIFY, that on this1\         day, of the month-:SO\VlV~~"Y        ,2018, a

copy of the foregoing Defendant Rodney R. Hailey's Reply and Memorandum               of law
and Support,   to the Government's Responsed pleading, was mailed prepaid, by the

first class Post Services, to the following           :



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                                                 13
